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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 CHERI KIMBERLY MARSH,

             Petitioner,

 v.                                           Civil Action No. 5:05CV167
                                       (Criminal Action No. 5:04CR36-02)
 UNITED STATES OF AMERICA,                                       (STAMP)

             Respondent.


                       MEMORANDUM OPINION AND ORDER
                    AFFIRMING AND ADOPTING REPORT AND
                   RECOMMENDATION OF MAGISTRATE JUDGE

                               I.   Background

       On September 27, 2005, the petitioner, Cheri Kimberly Marsh,

 filed a pro se1 petition for a writ of habeas corpus pursuant to 28

 U.S.C. § 2255. The petitioner, an inmate in federal custody, seeks

 a reduction of her prison sentence.          This matter was referred to

 United States Magistrate Judge James E. Seibert for report and

 recommendation     pursuant   to   Local   Rule   of   Prisoner   Litigation

 Procedure 83.09.        By order entered on November 4, 2005, the

 magistrate judge directed the government, as respondent, to file an

 answer to the petitioner’s petition.              The government filed a

 response on December 19, 2005, to which the petitioner filed no

 reply.




       1
       “Pro se” describes a person who represents himself in a court
 proceeding without the assistance of a lawyer.         Black’s Law
 Dictionary 1237 (7th ed. 1999).
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          On June 13, 2007, Magistrate Judge Seibert entered a report

 and recommendation recommending that the § 2255 petition be denied

 and dismissed with prejudice because the petitioner, in her plea

 agreement, knowingly, intelligently, and voluntarily waived her

 right to collaterally attack her conviction.                  The magistrate judge

 advised the parties that, pursuant to 28 U.S.C. § 636(b)(1)(C), any

 party may file written objections to his proposed findings and

 recommendations within ten days after being served with a copy of

 the magistrate judge’s recommendation.                 No objections were filed.2

                              II.    Standard of Review

          Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

 a   de       novo   review   of   any   portion   of    the   magistrate   judge’s

 recommendation to which objection is timely made.                     As to those

 portions of a recommendation to which no objection is made, a

 magistrate judge’s findings and recommendation will be upheld

 unless they are “clearly erroneous.”              See Webb v. Califano, 468 F.

 Supp. 825 (E.D. Cal. 1979).             Because the petitioner did not file

 objections, this Court reviews the report and recommendation for

 clear error.




          2
       The copy of the Report and Recommendation which was mailed to
 the petitioner was returned as undeliverable on June 28, 2007. On
 November 5, 2007, this Court received notification of the
 petitioner’s   new   address   and   re-mailed   the   Report   and
 Recommendation to the petitioner. She filed no objections.

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                                 III.   Discussion

       The petitioner contends that her sentence should be reduced

 pursuant to 28 U.S.C. § 2255 because the sentence imposed was based

 solely on the advisory sentencing guidelines and was, therefore,

 unreasonable.      According to the petitioner, the court failed to

 consider several relevant factors, including her cooperation with

 federal    drug    enforcement     officials;   her   history    of   domestic

 violence, mental illness, and substance abuse; and her family

 obligations.      Moreover, the petitioner claims that she had agreed

 to cooperate with law enforcement officials in exchange for United

 States Drug Enforcement Agent Kevin Cecil’s assurance that she

 would receive no term of imprisonment but would, instead, be placed

 in a drug treatment facility.

       Based upon a review of the record and the applicable law,

 Magistrate Judge Seibert recommended that the petitioner’s § 2255

 application       be   denied     because    the    petitioner    knowingly,

 intelligently, and voluntarily waived the right to collaterally

 attack her sentence when she pled guilty to Count Two of an

 indictment charging her with aiding and abetting the distribution

 of more than 5 grams of cocaine base. Specifically, the petitioner

 signed a plea agreement on January 17, 2005, which stated that she

 “waives her right to challenge her sentence or the manner in which

 it was determined in any collateral attack, including, but not

 limited to, a motion brought under Title 28, United States Code,


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 Section 2255 (habeas corpus).”3         Furthermore, the magistrate judge

 found that this Court, at sentencing, granted a motion for a

 downward departure from the applicable guideline range for the

 petitioner’s sentence based upon the petitioner’s substantial

 assistance.

       Because    the     petitioner     knowingly,    intelligently,     and

 voluntarily waived the right to collaterally attack her conviction,

 the petitioner’s application for habeas corpus pursuant to § 2255

 must be denied.

                                IV.    Conclusion

       This Court finds that the magistrate judge’s recommendation is

 not clearly erroneous and hereby AFFIRMS and ADOPTS the report and

 recommendation      of   the    magistrate    judge    in   its   entirety.

 Accordingly, the petitioner’s motion to vacate, set aside, or

 correct her sentence pursuant to 28 U.S.C. § 2255 is DENIED.           It is

 further ORDERED that this civil action be DISMISSED and STRICKEN

 from the active docket of this Court.

       Finally, this Court finds that the petitioner was properly

 advised by the magistrate judge that failure to timely object to

 the report and recommendation in this action will result in a

 waiver of appellate rights.          Because the petitioner has failed to

 object, she has waived her right to seek appellate review of this



       3
       This Court accepted and filed the petitioner’s plea agreement
 in open court on January 20, 2005.

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 matter.    See Wright v. Collins, 766 F.2d 841, 844-45 (4th Cir.

 1985).

       IT IS SO ORDERED.

       The Clerk is DIRECTED to transmit a copy of this memorandum

 opinion and order to the pro se petitioner and to counsel of record

 herein.    Pursuant to Federal Rule of Civil Procedure 58, the Clerk

 is DIRECTED to enter judgment on this matter.

       DATED:      January 22, 2008



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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